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                 IN THE UNITED STATES DISTRICT COURT FOR
               THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
Balewa Mayo,
                                    *
     Petitioner,
                                    *
           v.                                CIVIL NO.:            WDQ-07-2646
                                    *        CRIMINAL NO.:         WDQ-06-0074
UNITED STATES OF AMERICA,
                                    *
     Respondent.
                                    *

*    *     *       *      *    *    *        *     *      *        *       *     *   *

                              MEMORANDUM OPINION

     Pending is Balewa Mayo’s pro se motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255.                      For the

following reasons, Mayo’s motions will be denied.

I.   Background

     On February 23, 2006, Mayo was indicted for conspiracy to

distribute and possess with intent to distribute cocaine, cocaine

base and heroin in violation of 21 U.S.C. § 846.                   On April 10,

2006, Mayo pled guilty pursuant to a cooperation agreement with

the Government.        Mayo and the Government agreed that he was a

career offender under the advisory guidelines.                Agreement at 5.

Mayo and the Government also agreed that during the conspiracy

the distribution of five to 15 kilograms of cocaine was

reasonably foreseeable to Mayo.             Id.   Under the agreement, the

Government agreed that it would request a downward departure of

up to four levels for Mayo’s cooperation.


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      As a career offender, Mayo’s adjusted total offense level of

34 and criminal history category of VI placed him in an advisory

guidelines sentencing range of 262-327 months.            Presentence

Investigation Report at 5, 8.       After the Court granted the

Government’s § 5K1.1 motion for a four level downward departure,

he was sentenced to the bottom of the 168-210 months advisory

guidelines sentencing range.

      On October 19, 2006, Mayo appealed his sentence to the

Fourth Circuit, and on July 13, 2007 it was dismissed.

II.   Analysis

      A.    Motion to Vacate, Set Aside, or Correct Sentence

      Mayo argues that because he provided the Government with

invaluable information, he should have been sentenced to the

statutory mandatory minimum sentence of ten years.             The

Government counters that Mayo has provided no evidence that the

Court’s sentence was unlawful.       The Government maintains that

Mayo’s sentence was reasonable and within the advisory guidelines

range.

      The Court determined that the advisory guidelines sentence

imposed met the sentencing objectives of 18 U.S.C. § 3553(a).

Accordingly, Mayo’s § 2255 motion will be denied.

III. Conclusion

      For the above stated reasons, Mayo’s motion will be denied.

January 30, 2008                                /s/
Date                                     William D. Quarles, Jr.
                                         United States District Judge


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